        Case: 1:19-cv-03924 Document #: 66-2 Filed: 12/06/19 Page 1 of 2 PageID #:365




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 2                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF ILLINOIS
 3                                        EASTERN DIVISION

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 6                                                         This Document Relates to All Cases
      IN RE: FAIRLIFE MILK PRODUCTS
                                                           MDL No. 2909
      MARKETING AND SALES PRACTICES
 7                                                         Master Case No. 19-cv-3924
      LITIGATION
                                                           Judge Robert M. Dow, Jr.
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13       I, Ryan Frasher, declare as follows:
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         1. I am the principal of The Frasher Law Firm, P.C. (“Firm”) and I make this declaration in
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     support of Motion for Appointment of Leadership Structure filed by Saeed & Little, LLP on behalf of
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     plaintiffs in Sabeehullah et.al. v. Fairlife, LLC et.al.
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19       2. I am counsel for Plaintiff in Abowd v. Fairlife, LLC, et al. filed in the Southern District of

20   Indiana which has been consolidated into this MDL.
21       3. I graduated from University of Dayton School of Law in 2007.
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         4. My practice has focused on consumer law for over ten years.
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         5. I have or currently am litigating over one-hundred individual and class cases in one or multiple
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     areas of consumer protection law similar to this case. I have litigated consumer cases from inception, to
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26 trial, to post-trial motions, and to appeal.

27       6. I am frequently invited to present at CLEs on topics related to consumer rights and class actions.

28       7. I have successfully litigated and settled numerous consumer class actions nationwide.

                                                                            DECLARATION OF RYAN FRASHER
                                                                                Master Case No. 19-cv-3924
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        8. I have invested significant time and resources developing and pleading the legal claims,
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 2   researching the allegation put forth in Abowd v. Fairlife, LLC, et al.

 3      9. In addition, I have extensively researched the legal basis for the claims asserted and worked to

 4   develop liability and damages theories that were pled in this matter.
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        10. I fully support the appointment of Syed Ali Saeed as the co-lead in this MDL.
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        I declare under penalty of perjury that the foregoing is true and correct.
 7

 8      Dated this 6th day of December 2019.

 9
                                                           /s/ Ryan Frasher
10                                                         Ryan Frasher
                                                           The Frasher Law Firm, P.C.
11
                                                           3209 W. Smith Valley Rd., Suite 253
12                                                         Greenwood, IN 46142
                                                           317.300.8844
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                                                         -2-                  DECLARATION OF RYAN FRASHER
                                                                                        Case No. 3:18-cv-07354
